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AmerisourceBergen Corporation
Corporate Security & Regulatory Affairs
P.O. Box 959

Valley Forge, PA 19482

1300 Morris Drive
Chesterbrook, PA 19087-5594

www.amerisourcebergen.com
AmerisourceBergen "

Steve Mays

Director, Regulatory Affairs
Phone 610.727.7467

Fax 610.727.3650

smays@amerisourcebergen.com
Memorandum

TO: Distribution Center Managers, Compliance Coordinators
FROM: CSRA

CC: Regional Vice Presidents
DATE: October 25, 2004
SUBJECT: ABC Awarded DEA Certificate of Appreciation

As many of you already know, CSRA regularly provides training for Diversion Investigator
Trainees from DEA's Quantico, VA training academy. This training takes place at
AmerisourceBergen’s (ABC) Richmond Distribution Center (DC) and includes a tour of the
facility.

At the conclusion of the training on Friday, October 22, 2004, DEA presented ABC with a
Certificate of Appreciation in recognition of ABC’s contribution to drug enforcement and to
DEA’s training program. Steve Mays accepted the award on behalf of AmerisourceBergen.

This is a well-deserved recognition of ABC’s regulatory compliance program and cooperative
relationship that all DCs have with the DEA. This award would not be possible without the
cooperation and participation of Richmond DC management and associates. CSRA would
like to thank all associates for their continued commitment to compliance.

Congratulations on your Award!

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suone|jaoued Jayjddns <
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S77C W404 Wad ubIs 0} saqzeloosse J9y}0 SEZIOuINY ~

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SSoUajea|dwoo pue Adeind0e JO} Japso
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uo}}e4)SIH531 INOUM SJABWOJSND SHdO}q AjjedeWO Ne WayshsS <
SUOI}eD0] a}e1edas JO} UOIeI}SIDe1 ayesedas - €Z'60ET <
wlOINGLISIP |IEJO, <
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"*S/BDILUBYD J ISI] 0} Dyloeds
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SoIngi4jsip ouM uosJad Ajaay (UOeNSIBAY) - TZ’*60ET <
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 syeo1wmeYyD pest
- 60€L HAD LZ

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AM-WV-00785.00029
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va|geralyay Ajipeay,, <
ajgeydso0e UONUS}e41 P40994 UONEIO|] |eQUSeD <
sieak Z snid Juang <
3\qe}dao0e ae spjode/ ssauisng JejnBay <
Sps10d9y JO DDUCUSWIEW! - PO'OTET <
suoloesues pajyejnbey <
Spjod8y Posinbey (Hbuldseyps0d9y) - €O'OTET <

s|eo1WweYD pe}sit
- OLEL HAD LZ

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90T WHO 4 Wad ON <
UONEDIJIJOU }e40 JO SAEP ST UUM peslj aq JsnwW Vode! UBAUM ~
sso} JO AJBAODSID UOdN UOeDIJIOU [EID ~

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UCU} JUdJAIP Be S|ENILUSUD JO} SJUBWatINDe! Buoday <

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suoday pouinbay (bulwodey) - SO’OTET <

S]BOIWaYD pest
- OLEL UAD LZ

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sjnpoid uleyad jo Huljnpsyosoy <

SJUsWaJINDeY BHeJOIS SjeoIWAYD pejsi] <
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LUa SAS BULIAaPIO sdUeISGNS posjjO1jUOD ~
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OULD) <

 

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AM-WV-00785.00032
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S[EDIWSY Pels!] <

SWIO-] JOPIO =

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~ suonsany

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